            Case 3:18-cv-06371-LB Document 111 Filed 04/15/22 Page 1 of 2




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 6 REGIONAL CENTER LLC
 7
 8                                   UNITED STATES DISTRICT COURT
 9                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
11 SECURITIES AND EXCHANGE                         Case No. 3:18-cv-06371-LB
     COMMISSION,
12                                                 [PROPOSED] ORDER GRANTING
                        Plaintiff,                 DEFENDANTS ROBINSON AND
13                                                 GOLDEN STATE REGIONAL
                   v.                              CENTER’S NOTICE OF MOTION
14                                                 AND ADMINISTRATIVE MOTION
   JEAN DANHONG CHEN, TONY JIANYUN                 TO ENLARGE TIME TO RESPOND
15 YE, KAI HAO ROBINSON, KUANSHENG                 TO FIRST AMENDED COMPLAINT
   CHEN, LAW OFFICES OF JEAN D. CHEN,
16 a Professional Corporation, TREE LINED          Judge:   Honorable Laurel Beeler
   HOLDINGS, LLC, and GOLDEN STATE
17 REGIONAL CENTER, LLC,
18                      Defendants.
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28                                                                 Case No. 3:18-cv-06371-LB
     [3894705.1]
     [PROPOSED] ORDER GRANTING DEFS ROBINSON AND GOLDEN STATE REGIONAL CENTER’S NOTICE
      OF MOTION AND ADMINISTRATIVE MOTION TO ENLARGE TIME TO RESPOND TO FIRST AMENDED
                                         COMPLAINT
            Case 3:18-cv-06371-LB Document 111 Filed 04/15/22 Page 2 of 2




 1                                          [PROPOSED] ORDER
 2                 The Court, having reviewed the Motion and Administrative Motion, and finding
 3 that good cause exists, hereby ORDERS as follows:
 4                 Defendants Robinson and Golden State Regional Center’s Notice of Motion and
 5 Administrative Motion to Enlarge Time to Respond to First Amended Complaint is
 6 GRANTED.
 7                 Defendants Robinson and Golden State Regional Center’s deadline to respond to
 8 the First Amended Complaint is May 23, 2022. In the event that Defendants Robinson and
 9 Golden State Regional Center decide to file a motion to dismiss, an opposition would be
10 due on June 13, 2022, any reply briefs would be due by June 28, 2022, and a hearing on
11 that Motion would be scheduled on July 14, 2022.
12                 IT IS SO ORDERED.
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                April 15 2022
     DATED: ____________,
15                                                  Honorable Laurel Beeler
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     [3894705.1]                             1                     Case No. 3:18-cv-06371-LB
     [PROPOSED] ORDER GRANTING DEFS ROBINSON AND GOLDEN STATE REGIONAL CENTER’S NOTICE
      OF MOTION AND ADMINISTRATIVE MOTION TO ENLARGE TIME TO RESPOND TO FIRST AMENDED
                                         COMPLAINT
